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      Interim Co-Lead Counsel for Plaintiffs
14    and the Proposed Class
15
16   [Additional Counsel appear on signature page]
17                              UNITED STATES DISTRICT COURT
18                             CENTRAL DISTRICT OF CALIFORNIA
19
                                      SOUTHERN DIVISION
20
      PETER MOSES GUTIERREZ, Jr.,                  CASE NO. SA 21-CV-1628-DOC-JDE
21    et al., individually and on behalf of all    CASE NO. 2:22-cv-02153-DOC-JDE
22    others similarly situated,

23               Plaintiffs,                       JOINT DISCOVERY
           v.                                      COORDINATION STIPULATION
24
25    AMPLIFY ENERGY CORP.; BETA
      OPERATING COMPANY, LLC; and
26    SAN PEDRO BAY PIPELINE
      COMPANY,
27
                 Defendants/Third-Party
28
     4890-7377-3097V1                             1
                                          JOINT STIPULATION
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 1               Plaintiffs,
 2         v.
 3
      MSC MEDITERRANEAN SHIPPING
 4    COMPANY, S.A.; DORDELLAS
      FINANCE CORPORATION; MSC
 5    DANIT; ROES 1-100; COSTAMARE
      SHIPPING CO., S.A.; CAPETANISSA
 6    MARITIME CORPORATION;
 7    V.SHIPS GREECE LTD.; COSCO
      BEIJING; ROES 101-200; and MARINE
 8    EXCHANGE OF LOS ANGELES-
      LONG BEACH HARBOR d/b/a
 9    MARINE EXCHANGE OF
10    SOUTHERN CALIFORNIA,

11               Defendants/Third-Party
                             Defendants.
12
      In the Matter of the Complaint of
13    DORDELLAS FINANCE CORP.,
      Owner, and MSC MEDITERRANEAN
14    SHIPPING COMPANY S.A., Owner
      pro hac vice, of the Motor Vessel MSC
15    DANIT, and its engines, tackle, apparel,
      and appurtenances, and
16    CAPETANISSA MARITIME
      CORPORATION, Owner of the Motor
17    Vessel BEIJING, and its engines, tackle,
      apparel, and appurtenances.
18
                 Plaintiffs.
19
20
                        WHEREAS, the signatories below (“Parties”) have conferred
21
     regarding the Special Master’s order at 21-cv-1628, ECF 289 regarding the
22
     preparation of a stipulation that addresses certain issues related to the coordination
23
     of discovery between the Consolidated Class Actions (21-cv-01628) (“CCA” or
24
     “Gutierrez”) and the Consolidated Limitation Action (22-cv-0153) (“CDA” or
25
     “Limitation Action”) (collectively “Coordinated Discovery Proceedings”).
26
                        NOW THEREFORE, the signatories below, by and through their
27
     counsel, hereby STIPULATE and AGREE:
28
     4890-7377-3097V1                              2
                                           JOINT STIPULATION

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 1                1.    The Parties will use their best efforts to coordinate discovery
 2   between the CCA and CDA to the fullest extent practicable.
 3                2.    Discovery requests directed to and discovery responses received
 4   from one Party shall be served on all Parties, whether styled in the CCA or CDA.
 5                3.    Discovery conducted in the CCA and the CDA, including written
 6   discovery responses, document productions and depositions transcripts, are deemed
 7   cross-produced and may be used in the CCA or CDA as if conducted in the
 8   proceeding in which the discovery is sought to be used.
 9                4.    This paragraph is intended to make discovery more
10   administratively efficient. This paragraph does not alter the Federal Rules of Civil
11   Procedure regarding the individual discovery limits that apply to individual parties.
12   Requests for documents, interrogatories, deposition on written questions, and
13   requests for admission propounded by a claimant against the Shipping Defendants
14   in the CDA or by Amplify in the CCA shall be deemed to have been propounded by
15   all CDA claimants, such that there is a master set of discovery requests.
16                5.    Discovery in the CCA and CDA shall proceed simultaneously,
17   in accordance with the Court’s discovery schedule (CDA ECF 46). Coordination of
18   discovery does not stay or relieve any Party of its discovery obligations in the CCA
19   or CDA.
20                6.    The Coordinated Discovery Proceeding will be conducted in
21   accordance with the Federal Rules of Civil Procedure, the Local Rules, and any
22   orders of the Court in the CCA or CDA.
23                7.    The operative Stipulation and Protective Order (“Protective
24   Order”) shall apply to the CDA proceedings to the same extent it is applicable to the
25   CCA proceedings.
26                8.    Any operative Stipulated Order Document and Electronically
27   Stored Information Production Protocol (“ESI Stipulation”) shall apply to the CDA
28   proceedings to the same extent it is applicable to the CCA proceedings.
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                                       JOINT STIPULATION

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 1                      9.    Any operative Stipulated Order Re: Removal of Preservation of
 2   Portion of San Pedro Bay Pipeline (“Pipeline Stipulation”) shall apply to the CDA
 3   proceedings to the same extent it is applicable to the CCA proceedings.
 4                      10.   A Party’s signature to this Stipulation, the Protective Order, ESI
 5   Stipulation, or the Pipeline Stipulation shall not constitute or be used to argue that
 6   the signatory has waived jurisdictional objections or any other claims, rights or
 7   defenses.
 8                      11.   Nothing in this Stipulation prevents or allows a Party to seek a
 9   stay or other restriction or limitation of discovery where such Party determines that
10   it is reasonably necessary to defend or enforce its positions.
11                      12.   A new party to the CCA or CDA may participate in the
12   Coordinated Discovery Proceeding provided the party (i) signs the operative
13   Protective Order, ESI Protocol, and Pipeline Stipulation, (ii) agrees to avoid
14   duplicative discovery, and (iii) agrees to comply with any subsequent order entered
15   in the CCA or CDA governing the conduct of discovery, to the extent such order is
16   equally applicable to the other respective action.
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                                            JOINT STIPULATION

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 1   SO STIPULATED AND AGREED ON JULY 15, 2022:
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13                                      Operating Company, LLC, and San Pedro
14                                      Bay Pipeline Company

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                                    JOINT STIPULATION

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                                    JOINT STIPULATION

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17                                      Corporation, and the MSC Danit
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                                    JOINT STIPULATION

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 1                                      Counsel for Costamare Shipping Co. S.A.,
                                        Capetanissa Maritime Corporation of
 2                                      Liberia, V.Ships Greece Ltd., and the M/V
 3                                      Beijing
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                                    JOINT STIPULATION

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 1                                   SIGNATURE CERTIFICATION
 2               Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all signatories listed, and
 3   on whose behalf the filing is submitted, concur in this filing’s content and have
 4   authorized this filing.
 5
     DATED: July 15, 2022                                 /s/ Lexi J. Hazam
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                                                          Lexi J. Hazam
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                                              JOINT STIPULATION

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